Case 24-12235 Doci1 Filed 11/06/24 Entered 11/06/24 15:41:26 Desc Main
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AME EM istrsie Cli ace) Cer el) met iol

United States Bankruptcy Court far the:

___ BOSTON District of _ M

Gase number (if known): Chapter you are filing under:

Chapter 7 CJ Check if this is an

a Shanta 12 amended fing

QO) Chapter 13 Ct tae tle

Official Form 1014
Voluntary Petition for Individuals Filing for Bankruptcy ag/24

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alons. A married couple may file a bankruptcy case togethar—called a
foint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debfor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must raport information as Debtor 7 and the other as Debtor 2. The
same person must be Debfor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing tagether, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Identify Yourself

“About Debtor 1: - Aboit Debtor 2 (Spouse Only ina Joint Case);
+. Your full name SEE pen oe we ce,
. RICHARD
Write the name thatis on your Firstname 1 Firstname
government-issued picture ALAN oe
identification (far example, - ol,
your driver's license or Middle name “.. Middle name
passport), COLE :
Bring your picture Last name Last name
identification to your meeting :
with the trustee. Suffix (Sr. Ur, WN Wl} ie Suffix (Sr, Jr, 1, Ul
2. All other names you *
have used in the last 8 First name “First name
years fo
Middle name 1.0 Middle name
Include your rnarried or
maiden names and any > Cast
assumed, trade names and Last name jo) SaSt name
doing business as names. :
First name _. Firstname

Do NOT list the name of any
separate legal entity such as

a corporation, partnership, or “Middle name “Middle name
LLC that is not filing this oe
petition, Last name -; Lastname
Business name (if applicable) -:; Business name (if applicable)
;
Business name (if applicable) ,- Business name (if applicable)
3. Only the last 4 digits of 7 9 4
: - - 6 : ~ -
your Social Security RAK KK XXX —~ XK
number or federal OR - OR
Individual Taxpayer La,
identification number 9 xx — xx - 2 9 xx — xx -
(ITIN}

Official Form 104 Voluntary Petition for Individuats Filing for Bankruptcy page 1
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Document Page 2 of 12
Debtor 4 RICHARD ALAN CO LE Case number (if known},
First Name Middle Name Last Name
eNbout Debtonts 00 “About Debtor 2 (Spouse Only in a Joint Case):
4, Your Empioyer _ _
Identification Number EN “ENT OT
(EIN), if any.
EN EN TTT
5. Where you live If Debtor 2 lives at a different address:
32 LAKE ST
Number Street Number Street
AMESBURY MA 01913
City State ZIP Code . Gity State ZIP Code
USA -
County - County

If your mailing address is different from the one
above, fill it in here, Note that the court will send
any notices to you at this mailing address.

“. If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address,

“| Number

this district to file for
bankruptcy

i Over the last 180 days before filing this petition,
| have lived in this district longer than in any
oiher district.

(J | have another reason. Explain.
(See 28 UWLS.C. § 1408.)

Number Street Street

P.O. Box P.O, Box

City State @IP Code 9: Clty Stele ZIP Code
6. Why you are choosing Check ane: ’ Check one:

- (Q) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

~ Ol thave another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

Debtor 1

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RICHARD ALAN COLE

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Case number (it known)

First Nama

Middla Name

Last Name

ea Tell the Court About Your Bankruptcy Case

7. The chapter of the Cheek one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) far individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 7 and check the appropriate box.
are choosing fo file oF
under Chapter 7
CY Chapter 11
L] Chapter 12
Ld Chapter 13
8. How you will paythe fee (11 will pay the entire fee when I file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
submitting your payment en your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
C) | need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in installments (Official Form 103A).
4 | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable te
pay the fee in installments}. If you choose this option, you must fill out the Application fo Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition,
9. Have you fited for 1 No
bankruptcy within the
last 8 years? Cl] Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy No
cases pending or being
filed bya spouse whois 4 Yes. Debtor Relationship to you
not filing this case with District When Case number, if known,
you, or by a business MM/DD /¥YYY
partner, or by an
affiliate?
Debtor Relationship to you
Distict When Case number, if Known,
MM / DD / YYYY
11. Do you rent your LI No. Gotoline 12.
residence? id Yes. Has your landlord obtained an eviction judgment against you?
iJ No. Go to line 12.
C) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3

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Debtor 1 RICHARD ALAN COLE Gase number ¢# Anown),

First Name Middle Nama Last Name

Cr Report About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor [J No. Go to Part 4.

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate [egal entity such as
a corporation, partnership, ar
LLC,

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

id Yes. Name and location of business

RICHARD A COLE

Name of business, if any

32 LAKE ST

Number Street

AMESBURY MA 01913
City State ZIP Code

Check the appropriate box fo describe your business:

(3 Health Care Business (as defined in 11 U.S.C. § 101{27A))
C) Single Asset Real Estate {as defined in 11 U.S.C, § 101(51B))
CI Stockbroker (as defined in 11 U.S.C. § 101(53A))

L) Commodity Broker (as defined in 11 U.S.C. § 101(6))

4 None of the above

13. Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor?

For a definition of smal!
business debior, see

11 U.S.C. § 104(51D).

Official Form 101

if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
can set appropriate deadiines. If you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure In 17 U.S.C. § 1116(1}(B).

1 No. Lam not filing under Chapter 11.
CQ No. fam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

C) Yes. lam filing under Chapter 11, | am a small business debtor according to the definition in the
Bankrupicy Code, and | do not choose to proceed under Subchapter V of Chapter 11.

C) Yes. fam filing under Chapter 11,1 am a small business debtor according to the definition in the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapier 11.

Voluntary Petition for Individuals Filing for Bankruptcy page 4

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Dabtor 1 RICHARD ALAN COLE Case number (i known),

First Natne Middle Name Last Name

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own orhave any = i No
roperty that poses or is
ttley owt pose athreat. 1 Yes. Whatis the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5
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RICHARD ALAN. COLE

Debtor 1 Case number (i known),

Middle Nama

First Name

Last Nama

15. Tell the court whether
you have received a
briefing about credit
counseling,

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy, You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

You must check one:

il I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C} | received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, but [do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition, \
you MUST file a copy of the certificate and payment

plan, if any.

C) | certify that asked for credit counseling
services from an approved agency, but was
unable fo obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required yau to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not de so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum af 15
days.

OC) fam not required to receive a briefing about
credit counseling because of:

OC) Incapacity. | have a mental illness or a mental ne

deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unabie to participate ina
briefing in person, by phone, ar
through the internet, even after |
reasonably tried to do so.

C Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court.”

Official Form 404

Voluntary Petition for Individuals Filing for Bankruptcy

S About Debtor.2 (Spouse Only ify 4 Joint Case)!

You must check one:

: : CO) | received a briefing fram an approved credit

counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Altach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

': OD received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a capy of the certificate and payment
plan, if any.

Ld 1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after 1 made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

- U1 tam not required to receive a briefing about

credit counseling because of:

CL] Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably triad to do so.

L) Active duty. | am currently on active military
duty in a military combat zane.

If you belleve you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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Debtor 1 RICHARD ALAN COLE

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Case number (if known)

First Name Middle Name.

Last Name

ERE answer These Questions for Reporting Purpeses

| 16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

L) No. Go to line 16b.
4 Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

4 No. Go to line 16c.
L) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

NONE

_47. Are you filing under
| Chapter 7?

Do you estimate that after
any exempt property is

CL] No. | am not filing under Chapter 7. Go to line 18.

i Yes. 1am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

excluded and No
administrative expenses
are paid that funds will be LI Yes
available for distribution
to unsecured creditors?
18. How manycreditorsdo  @ 1-49 CJ 1,000-5,000 CL) 25,001-50,000
you estimate that you LI) 50-99 C) 5,001-10,000 L) 50,001-100,000
owe? UI 100-199 C] 10,001-25,000 C) More than 100,000
UI 200-999
_ 19. How much do you 4 $0-$50,000 C) $1,000,001-$10 million C) $500,000,001-$1 billion

estimate your assets to
be worth?

L) $50,001-$100,000
L) $100,001-$500,000
LJ $500,001-$1 million

CJ $10,900,001-$50 million
CI $50,000,001-$100 million
C) $100,000,001-$500 million

C) $1,000,000,061-$10 billion
C) $10,000,000,001-$50 billion
CJ More than $50 billion

20. How much do you
estimate your liabilities
to be?

4 $0-$50,000

LJ $50,001-$100,000
LI $100,001-$500,000
CI $500,001-$1 million

CL] $1,000,001-$10 million

L] $10,000,001-$50 million
C) $50,000,001-$100 million
C1 $100,000,001-$500 million

CL) $500,000,001-$1 billion

CL) $1,000,000,001-$10 billion
CI $10,000,000,001-$50 billion
CL) More than $50 billion

Sign Below

| For you

I have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If1 have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both,
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x “Richa Q. lot.

x

Signature of Debtor 1

Executed on ufoyfzo24

Signature of Debtor 2

MM / DD /YYYY

Executed on

MM / DD /Y¥YYY

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

ARERR

page 7
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Debtor 7 RICHARD ALAN COLE Case number (i known)

First Nama Middle Name Last Name

i, the attorney for ihe debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapier 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtors)
the notice required by 11 U.S.C. § 342(p) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

For your attorney, if you are
represented by one

If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition Is Incorrect,
by an attorney, you do not
need to file this page, x
Date
Signature of Attorney for Debtar MM 7? = =DD /YYYY

Printed name

Firm name

Number Street

City State ZIP Cade
Contact phone Email address
Bar number State

a ST RS ESE SR TE BT ee rr te tee emer a ev

Official Form 404 Voluntary Petition for Individuals Filing for Bankruptcy page 8

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Debtor 4 RICHARD ALAN COLE Case number (if known).
First Name Middle Name Last Nama
| For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney. the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply,

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

QO) No
Wi Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

UI No
i Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

W No

L) Yes, Name of Person 5
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x Kechaa A Col, x

Signature of Debtor 1 Signature of Debtor 2
Date it o4 202y Date
mM DD fYvYY MM? DD /YYYY
Contact phone (978) 504-0095 Contact phone
Cellphone (978) 504-0095 Cell phone
Email address Facolemd@yahoo.com Email address

ee ERR RU ee UeRH UM RE Eo RRRREe ES AEA HSS

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 9
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Certificate Number: 12459-MA-CC-039026325

MEANT AT

12459-M A-CC-039026325

CERTIFICATE OF COUNSELING

I CERTIFY that on November 2, 2024, at 10:44 o'clock AM PDT, Richard Cole
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Massachusetts, an

individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: November 2, 2024 By: /s/Cesar Herrera

Name: Cesar Herrera

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C, 109(h) and 521(b).

ees
mh

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United States Bankruptcy Court
District of Massachusetts

In re Case No

Chapter

Kichavd A- Cole

Debtor

VERIFICATION OF MATRIX

The above-named debtor(s) verify{ies) under penalty of perjury that the attached List of
Creditors, which consists of _/ pages andatotalof /f creditors, is true, correct
and complete to the best of my knowledge.

dane Tf /4/2024 ” Kehna - Cle

Debtor

Joint Debtor
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Document

BARCLAYS BANK DELAWARE
PO Box 8803
Wilmington, DE 19899-88033

CAPITAL ONE/ WALMART
PO Box 31293
Salt Lake City, UT 84131

DISCOVER BANK
PO Box 30939
Salt Lake City, UT

INTERACTIVE BROKERS
1 Pickwick Plaza
Greenwich, CT 06830

MERRICK BANK CORP

PO Box 9201

10705 §. Jordan Gateway Ste 20
Old Bethpage, NY 11804-9001

PORTFOLIO RECOVERY ASSOCIATES
128 Corporate Blvd Ste 100
Norfolk, VA 23502

SYNCHRONY BANK/LOWES
PO Box 965005
Orlando, FL 32896

SYNCHRONY BANK/PAYPAL
PO Box 530975
Orlando, FL 32896

TCM BANK
2710 N. Rocky Point Dr. Ste 700
Rocky Point, FL 33607

TCM BANK
3501 E. Frontage Rd. Ste 200
Tampa, FL 33607-5921

TRUE NEIGHBOR OF N MIDDL
PO Box 30035
‘Tampa, FL 33630-3035

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